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                              Instructions for Jury Questionnaire
       This questionnaire is designed to obtain information about your background as it relates
to your service as a juror in this case. We are using it to shorten the jury selection process. The
purpose of these questions is to determine whether prospective jurors can decide this case fairly,
based solely on the evidence presented at trial and the instructions on the law given by the judge.
The parties and the Court have agreed that all information contained in this questionnaire will be
kept confidential; to the extent the Court is ever required to release any responses in the
questionnaires, your name will not be publicly released.
       Please write your assigned juror number at the top of each page. Respond to each
question. Your candor and honesty are necessary so that both the prosecution and the defense
will have a meaningful opportunity to select an impartial jury. Your cooperation is of vital
importance.
        You are sworn to give true and complete answers, and those answers will be available
only to the Court and the parties in this case.
        From this day forward, until you have been formally excused from service, you are
instructed not to communicate in person, in writing, or electronically about this case or the
questionnaire with anyone, including your family and fellow jurors. Also, you should not go
online or look at any source to learn more about the charges, the defendant, or any participant in
the case.
       Please fill out the entire questionnaire. Do not leave any questions blank. If a question
does not apply to you in any way, write “N/A” rather than leaving the form blank.


       PLEASE PRINT LEGIBLY - PLEASE USE ONLY BLACK OR BLUE INK
                                        (NO PENCILS)
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JUROR NUMBER: ________________



                                JURY QUESTIONNAIRE


IN COMPLETING THIS QUESTIONNAIRE, PLEASE USE THE SPACE PROVIDED
AFTER EACH QUESTION. IF YOU NEED MORE SPACE, PLEASE USE THE PAGES
PROVIDED AT THE END OF THE QUESTIONNAIRE, INDICATING THE NUMBER
OF THE APPLICABLE QUESTION.



1.   a. Are you able to read, write and understand the English language?


        Yes ___     With Difficulty___       No ____


     b. Are you able to complete this questionnaire without another person’s assistance?
       Yes ___     No ___


IF YOUR ANSWER TO EITHER QUESTION 1(a) or 1(b) IS “NO,” PLEASE SIGN THE
LAST PAGE OF THE QUESTIONNAIRE AND RETURN IT WITHOUT ANSWERING
ANY OTHER QUESTIONS.



                            BACKGROUND INFORMATION
2.   Please provide the following personal information:

     Age: ______

     Gender: ______

3.   What is your marital status? (Check all that apply.)

     Single and never married ______
     Married ______
     Separated or divorced ______
     Divorced and remarried ______
     Living with significant other or domestic partner ______
     Widow or Widower ______

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JUROR NUMBER: ________________



                           EDUCATION AND EMPLOYMENT
Education
4.    Check the highest level of education for you and your spouse or significant other:


                                                   You    Spouse/Significant Other
      a. Grade school or less                      _____ _____
      b. Some high school                          _____ _____
      c. High school graduate                      _____ _____
      d. Technical or business school              _____ _____
      e. Some college                              _____ _____
      f. College degree                            _____ _____
      g. Graduate degree (and describe area)       _____ _____ Area: _______________


Employment
5.    Are you employed?


      _____ Yes             _____ No


6.    a. If employed, what is your current occupation / job title?
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      b. Name of employer:


      ________________________________________________________________________
      c. How long have you been employed at your current job?


      ________________________________________________________________________




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JUROR NUMBER: ________________


7.    If you are unemployed, please describe any other responsibilities you may have
      (childcare, school, etc.).

      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________



8.    If you are retired or between jobs, what type of work had you been doing?

      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________

9.    If you live with a spouse or significant other, is that person employed?


      _____ Yes             _____ No


10.   If employed, what is his or her current occupation / job title?
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________

11.   Name of the employer:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________




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JUROR NUMBER: ________________


12.   If you are a student now, please describe briefly your area of study:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________

13.   Have you or a close friend or family member ever worked in any aspect of the legal field,
      as a lawyer, prosecutor, criminal defense attorney, legal secretary, paralegal, court
      reporter, investigator, law clerk, judge, etc.?


      Yes ___     No ___
      If yes, please explain:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________

14.   Have you or a close friend or family member ever applied for employment with, was
      employed by, or received training by any local, state, or federal law enforcement agency,
      including any of the following:


      1)    Department of Justice       (DOJ)
      2)    Federal Bureau of Investigation (FBI)
      3)    U.S. Attorney’s Office
      4)    Bureau of Alcohol, Tobacco, Firearms
      5)    Internal Revenue Service (IRS)
      6)    Department of Homeland Security (DHS)
      7)    U.S. Marshal’s Service
      8)    U.S. Immigrations & Customs
      9)    U.S. State Department
      10)   U.S. Bureau of Prisons (BOP)
      11)   Central Intelligence Agency (CIA)
      12)   Defense Intelligence Agency (DIA)
      13)   National Security Agency (NSA)
      14)   National Geospatial Intelligence Agency
      15)   U.S. Secret Service
      16)   Transportation Security Administration
      17)   Federal, state or local prison or jail
      18)   Federal, state or local courthouse
      19)   Federal, state or local prosecutor’s office




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JUROR NUMBER: ________________


      If yes to any of the above, please identify the person involved and the agency, and state
      the approximate dates of the employment or training, and the position or involvement:

      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________

15.   Do you have any opinions or beliefs concerning law enforcement organizations in
      general, including the Federal Bureau of Investigation (FBI) or the Department of Justice,
      or the Special Counsel’s Office within the Department of Justice, that would affect your
      ability to evaluate the evidence fairly and impartially?


      Yes ___     No ___
      If yes, please explain:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________


16.   In this case, the United States is represented by the U.S. Attorney’s Office for the District
      of Columbia. The investigation that led to the charges in this case was conducted by
      Special Counsel Robert S. Mueller, III. The U.S. Attorney’s Office is, and the Special
      Counsel’s Office was, a part of the U.S. Department of Justice. Is there anything about the
      fact that the Special Counsel’s Office, the U.S. Attorney’s Office, or the Justice
      Department is or was involved in this case that affect your ability to be fair and impartial
      in this case and base your decision solely on the evidence presented and the Court’s
      instructions on the law?


      Yes ___     No ___
      If yes, please explain:

      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________




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JUROR NUMBER: ________________


17.   Check to indicate whether you or your spouse (significant other, domestic partner) has
      taken any courses, received any training, or sought or obtained employment, in any of
      these fields:
                                                    You           Spouse
      Security/Intelligence                        ________       _________
      International Relations                      ________       _________
      Journalism/Media/Communications              ________       _________

      For any item checked, please describe the training or employment:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________


                ORGANIZATIONAL AFFILIATIONS AND ACTIVITIES
18.   Are you currently, or have you ever been, a member or regular participant in any civic,
      social, union, professional, business, fraternal, recreational or other community group or
      charitable organizations?


      Yes ___     No ___


      If yes, please list the names of those groups or organizations, your role and how long a
      member:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________




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JUROR NUMBER: ________________



                                    PRIOR JURY SERVICE
19.   Have you ever served on a grand jury or jury in a trial within the past 10 years?


      Yes ___      No ___


      If yes, how many times have you served as a juror in a trial? ______

      If yes, have you ever served as a foreperson? ______

      If yes, how many times? ______

      If yes, for each trial jury service, please indicate:

                       Federal        Civil or                 Charge or           Verdict
              Year     or State       Criminal                Type of Case         Reached


           _______ _________ ___________              ____________________        Yes     No

           _______ _________ ___________              ____________________        Yes     No

           _______ _________ ___________              ____________________        Yes     No

           _______ _________ ___________              ____________________        Yes     No


      If you served as a grand juror, how many times did you serve as a grand juror? _____


20.   If you served as a juror, is there anything about your previous experience as a juror that
      would affect your ability to serve as a juror in this case?


      Yes ___      No ___
      If yes, please explain:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________


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JUROR NUMBER: ________________


                               NEWS AND SOCIAL MEDIA
21.   If you follow local or national news, what are your primary sources for local and national
      news and information? (Check all that apply)


      I do not follow local or national news ____
      Newspapers (including online) ________ TV/cable ________ Blogs/websites ________
      Social Media ________ Radio ________ News magazines ________
      Word of mouth/conversations ______ Other sources (specify) _____________________


      Please identify by names your primary sources of news and information:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________

22.   Do you listen to political commentators on TV or talk radio?


      Yes ___     No ___
      If yes, please list the commentators you listen to:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________

23.   Have you written or posted anything for public consumption about the defendant, the
      House Permanent Select Committee on Intelligence investigation into Russian
      interference in the 2016 presidential election, or the investigation conducted by Special
      Counsel Robert Mueller?

      [For purposes of this question, writing “for public consumption” includes blog posts,
      articles, or posts on internet sites that are accessible to the general public.]

      Yes ___     No ___

      If yes, please describe when and where you did so and the subject of your comments:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________

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JUROR NUMBER: ________________



24.   Have you or any close friend or family member ever run for or held a political office in
      the federal, state, or local government?


      Yes ___     No ___
      If yes, would anything about that person’s running for or holding political office cause
      you to form an opinion about the defendant’s guilt or innocence in this case or affect
      your ability to be fair to both sides?

      Yes ___     No ___

      If yes, please explain:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________

25.   How closely have you followed media reports relating to investigations into Russian
      interference in the 2016 election?


      Very Closely ______ Somewhat Closely ______ Not too closely ______ Not at all _____

26.   To assure that the decision of jury in this case is not based upon influences outside the
      courtroom, the Court has instructed you that you must avoid reading about the case in the
      newspapers or listening to any radio or television reports concerning this case including
      news coverage or communications on the internet or social media. And, you may not
      discuss or communicate about this case with your family, friends or co-workers or
      anyone else including on the internet or social media. Also, until you retire to deliberate,
      you may not communicate about this case with your fellow jurors. If you are selected as
      a juror and this instruction continues until the end of the trial, you be able to follow these
      instructions?


      Yes ___     No ___
      If no, please explain:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________




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JUROR NUMBER: ________________


               KNOWLEDGE OF TRIAL PARTICIPANTS OR THE CASE
This case arises out of events that occurred in 2016-2018, including the testimony of Roger
Stone before the House Permanent Select Intelligence Committee (HPSCI) on September 26,
2017. There is nothing wrong with having heard or read something about this case, but it is
important to this process that you truthfully and fully answer the following questions concerning
your knowledge about the case and trial participants, if any.

27.    Have you read or heard anything about the defendant Roger Stone, about any statements
       made by or attributed to Mr. Stone, or about this case? If so, please describe what you
       have read or heard and the source of the information.
       ________________________________________________________________________
       ________________________________________________________________________
       ________________________________________________________________________


28.    Do you or anyone close to you have any connections to any of the following individuals?
       If so, you please explain below:

       The Court
              United States District Judge Amy Berman Jackson             Yes ___     No ___

       Assistant United States Attorneys
              Adam Jed                              Yes ___     No ___
              Jonathan Kravis                       Yes ___     No ___
              Michael Marando                       Yes ___     No ___
              Aaron Zelinsky                        Yes ___     No ___

       Counsel for the Defendant
              Robert Buschel                        Yes ___     No ___
              Tara Campion                          Yes ___     No ___
              Bruce Rogow                           Yes ___     No ___
              Chandler Routman                      Yes ___     No ___
              Grant Smith                           Yes ___     No ___

       The Defendant
              Roger Stone                           Yes ___     No ___




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JUROR NUMBER: ________________


      If yes, please explain:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________

29.   These are the names of people who may be witnesses in the case or who may be
      discussed during the trial.


       1) Julian Assange                                  17) David Lugo
       2) Jason Aubin                                     18) Theodore Malloch
       3) Steve Bannon                                    19) Paul Manafort
       4) William Binney                                  20) Rebekah Mercer
       5) Zachary Blevins                                 21) Andrew Miller
       6) Matthew Boyle                                   22) Tyler Nixon
       7) Michael Caputo                                  23) Sam Nunberg
       8) Peter Clay                                      24) John Podesta
       9) Hillary Clinton                                 25) Alexandra Preate
       10) Jerome Corsi                                   26) Erik Prince
       11) Randy Credico                                  27) Bill Samuels
       12) Richard Gates                                  28) Michael Strum
       13) Jason Fishbein                                 29) Jason Sullivan
       14) David Gray                                     30) Michelle Taylor
       15) John Kakanis                                   31) Donald Trump
       16) Margaret Kunstler


      If you know any of those individuals personally, please identify which ones and explain
      how you know them.
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________


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JUROR NUMBER: ________________


30.   Please indicate if you already have an opinion about any of those individuals, or if the
      fact that they may be involved in the case would make it difficult for you to be fair and
      impartial to both sides?
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________

31.   Have you or a close friend or family member ever been employed or had any association
      or connection with Congress or a congressional committee?


      Yes ___     No ___


      If yes, please explain the employment, association or connection:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________

32.   Did you work or volunteer for any 2016 presidential campaign?


      Yes___      No____
33.   Have you or any close friend or family member participated in, or had any connection
      with any government agency, group, organization, committee or subcommittee, public or
      private group or organization, including any media group or organization that participated
      in, any investigation or inquiry into the circumstances surrounding Russian interference
      in the 2016 presidential election?


      Yes ___     No ___
      If yes, please explain:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________




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JUROR NUMBER: ________________


34.   Have you formed or expressed any opinion about Mr. Stone, the charges in this case, or
      about his guilt or innocence in this case?


      Yes ___     No ___


35.   Some of the witnesses in this case may be people who were involved in crimes
      themselves. They would testify as part of a cooperation agreement with the
      government, or as part of a guilty plea, or under an order from the Court giving them
      immunity. Is there anything about that circumstance that will make it difficult for you to
      evaluate their testimony fairly and impartially in accordance with the Court’s
      instructions?


      Yes ___     No ___


      If yes, please explain:

      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________


          EXPERIENCE WITH THE COURTS AND CRIMINAL PROCESS
36.   Within the past ten years, have you or a close friend or family member been the victim of
      a crime, reported or not?

      Yes ___     No ___
37.   If yes, for each incident please provide the following information: type of crime, who was
      affected (you or the relationship of the person to you), when the crime occurred, whether
      anyone was arrested, and if so, the outcome of the case:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________




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JUROR NUMBER: ________________


38.   If yes, do you feel that the person was treated fairly by the government agency involved?
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      _______________________________________________________________________


39.   Within the past ten years, have you or a close friend or family member been a witness to
      a crime?


      Yes ___     No ___
      If yes, please explain:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________




40.   Within the past ten years, have you or a close friend or family member been subpoenaed
      to be a witness, or did you or they testify as a witness in any court proceeding, hearing, or
      trial, including a criminal case?


      If yes, please explain:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________




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JUROR NUMBER: ________________



41.   Within the past ten years, have you or a close friend or family member been arrested for,
      charged with, prosecuted for, or convicted of any crime other than a traffic ticket?


      Yes ___     No ___
      If yes, please explain who (in relation to you), when, and what happened:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________

      If yes, do you feel that you or your friend or family member was treated fairly?
      Yes ___     No ___


42.   Within the past ten years, have you or a close friend or family member been the subject
      of any other kind of law enforcement investigation or administrative enforcement
      proceeding?


      Yes ___     No ___


43.   If yes, please describe the subject matter of the investigation, the government agency
      involved, and the outcome.
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________

44.   Do you feel that you, your family member, or close friend was treated fairly by the
      government agency involved?
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________




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JUROR NUMBER: ________________


45.   Apart from jury service, have you ever been involved in any legal proceeding, in any
      capacity, for example as a plaintiff, defendant, victim, lawyer, witness, or expert?


      Yes ___ No ___
46.   If yes, please state when and explain why you appeared in court:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________

47.   If yes, did the legal process in that instance operate fairly in your opinion?
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________


                 CRIMINAL JUSTICE SYSTEM & LEGAL PRINCIPLES
48.   The judge will instruct you that the charges in this case include: obstruction of an official
      proceeding, making false statements, and witness tampering. Is there anything about the
      nature of the charges alone that would affect your ability to be fair?


      Yes ___     No ___
49.   Jurors are the sole judges of the facts. However, the jury must follow the principles of
      law as instructed by the judge. The jury may not follow some rules of law and ignore
      others. Even if the jury disagrees or dislikes the rules of law or does not understand the
      reasons for some of the rules, it is their duty to follow them. Do you have any personal
      beliefs that would make it difficult to follow the Court’s legal instructions, whatever they
      may be?


      Yes ___     No ___
50.   If, during the course of jury deliberations, a fellow juror should suggest that you
      disregard the law or the evidence and decide the case on other grounds, would you, as a
      juror, be able to reject that suggestion and abide by your oath to this court to decide the
      case solely on the evidence and law as the court has instructed you to do, without regard
      to sympathy, bias or prejudice?


      Yes ___     No ___




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JUROR NUMBER: ________________



                                 CONCLUDING QUESTIONS


51.   Do you have any personal reason that makes you want to serve as a juror in this case, or
      do you have any personal interest in the outcome of the case?


      Yes ___     No ___


      If yes, please explain:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________


52.   Do you have any moral, religious, or ethical beliefs that prevent you from sitting in
      judgment of another person?



         Yes ___      No ___


53.   The trial in this case may last approximately two (2) weeks, and could run longer. The
      typical trial day lasts from 9:30 a.m. to 4:30 or 5:00 p.m., with breaks in the morning and
      afternoon and a lunch break for approximately an hour. Monday through Friday. If there
      is any reason why you could not maintain that schedule, or you could not be present and
      give the matter your full attention during the period beginning November 5, 2019, and
      ending approximately November 20, 2019, please explain.

      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________




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JUROR NUMBER: ________________


54.   Do you have any physical or medical condition, or are you taking any medication on a
      regular basis that would make it unusually difficult for you to serve as a juror in this case
      or to sit for the periods of time described in the previous question?


      Yes ___     No ___



55.   Do you have any difficulty hearing that is not corrected with a hearing aid or any
      difficulty seeing that is not corrected by glasses or contact lenses?


      Yes ___     No ___


56.   Is there anything about this case, the issues, or the people involved in this case, or any
      other reason that has not be been asked about in any other question, that leads you to
      believe that you could not be completely fair to both the defendant, Roger Stone, and the
      U.S. Government in this case?


      Yes ___     No ___
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________




                         PLEASE GO ON TO THE NEXT PAGE




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JUROR NUMBER: ________________



                                     CERTIFICATION
By signing below, I hereby declare under penalty of perjury that all of the answers to the above
questions are true and correct to the best of my knowledge and belief. I have not discussed my
answers with others or received assistance in completing the questionnaire. I have answered all
of the above questions myself.


___________________________         _____________________________          _______________
Signature                           Print your full name here              Date


Juror Number _______




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